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                   UNITED STATES CENTERAL DISTRICT COURT OF CALIFORNIA

         Angela Nails,
             Plaintiff,
         Vs.                                                                     Case Number

        DC Universe Infinite,
        DC Entertainment Inc.(Warner Media),
        Founder Malcolm Wheeler Nicholson,
           Defendants,

                                                   COMPLAINT
                                                              ~'~~22'2~ ~ ~~SF ~.v~
        The Plaintiff complaint begins with the date of June 07, 2021, through June 17, 2021, June 25,

        2021, and June 28, 2021, the Plaintiff debit card was used to purchase online comic books. The

        charges of the use of the Plaintiff debit card were fraudulent charges. The Defendant refuse to

        give the name and the address also the bank information other than the bank last four numbers of

        the debit card was used was the Plaintiff card. The name was not given the Defendant stated they

        had no name of the person just an email address of the person where the comic books could be

        viewed after payment. The Plaintiff has asked continues to try to get information that will be

        able to associate the person with the Plaintiff use of the debit card and the Defendant has not

        given the Plaintiff any funds knowing the Plaintiff debit card was used by someone other than

        the Plaintiff.

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        The Plaintiff ask for damage in the amount of $50,000.00 these damages come from the lack of

        attention given to the Plaintiff by the Defendant not giving the Plaintiff information about the

        debit card once the Defendant where provide the last four of the Debit card number the name of

        the Plaintiff. The Defendant lack of understanding and corporation stops the Plaintiff from

        making a police report and seek charges against the person without the person's name and


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                                                                          Y                     DEPUTY
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address from the form completed to authorize the debit charge payment and membership with the

Defendant.

                           DEFENDANTSERVICE ADDRESS

Headquarters 2900 West Alameda Avenue Burbank, California 91505.




                                   ANGELA N
                                10708 RGMONT ROAD
                             SAVANNAH,GEORIGA 31406
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                                  NOTICE OF SERVICE

350 W 1St Street, Suite 4311 Los Angeles, CA 90012-4565 using United States Regular Postal

Mail on            \ ~ ~~          2022.




                                   ANyGEL NAILS
                                10708 EG  NT ROAD
                             SAVANNAH,GEORIGA 31406
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